~AO   245D                      (Rev. 12/07) Judgment in a Criminal Case for Revocations
                                Sheet 1



                                                                         UNITED STATES DISTRICT COURT
                                                                                     District of Utah

               UNITED STATES OF AMERICA                                                         Judgment in a Criminal Case
                                                         v.                                      (For Revocation of Probation or Supervised Release)
                           PAUL ANDREW MEMMOTT

                                                                                                 Case No. DUTX 2:08CR00856-001 TC
                                                                                                 USM No. 16055-081
                                                                                                  Benjamin A. Hamilton
                                                                                                                           Defendant's Attorney
THE DEFENDANT:
r;f admitted guilt to violation of condition(s)                                 Allegations 1-4 of Petition       of the term of supervision.
0    was found in violation of condition(s)                                                                   after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                         Nature of Violation                                                              Violation Ended
1.                                                             On or about April17, 2014, to May 28, 2014, the defendant



                                                               viewed, and/or possessed child pornography.



       The defendant is sentenced as provided in pages 2 through _.......::5;.,__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0    The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes rn
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2881                                               08/21/2014

Defendant's Year of Birth:                                               1983

City and State of Defendant's Residence:
Magna, UT 84044
                                                                                                  Tena Campbell                                   U.S. District Judge
                                                                                                                          Name and Title of Judge


                                                                                                                                       Date


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                                                      ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
2.                             On or about April17, 2014, to May 28, 2014, the defendant possessed and/



                               without prior approval of the U.S. Probation Office.



                               accessed, or possessed sexually explicit materials.



                               office.
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               Sheet 2- Imprisonment

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                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
10 years




     D The court makes the following recommendations to the Bure.au of Prisons:




     'i/   The defendant is remanded to the custody of the United States Marshal.

     D     The defendant shall surrynder to the United States Marshal for this district:
           D     at   - - - - - - - - - D a.m.                       D p.m.    on
           D     as notified by the United States Marshal.

      D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                              By ---------------------------------------
                                                                                         DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - Supervised Release

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  DEFENDANT: PAUL ANDREW MEMMOTT
  CASE NUMBER: DUTX 2:08CR00856-001 TC
                                     SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
LIFE



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau ofPrisons.                                              ·
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  ri{    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  'i/    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.                                       .

                                              STANDARD CONDITIONS OF SUPERVISION

  1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
             five days of each month;
  3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
  4)         the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
  6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)        the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person
             convicted of a felony, unless granted perm1ssion to do so by the probation officer;
   10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
   11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
   12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
             without the permission of the court; and
   13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
             notifications and to confirm the defendant's compliance with such notification requirement.
   14)        The defendant shall submit his or her person, residence, office or vehicle to search, conducted by the probation office at a reasonable time and lr
   reasonable manner based upon
               reasonable suspicion of contraband or evidence of a violation of a condition of release, failure to submit to a search may be grounds for revocati<
   the defendant shall warn any other
                   .   .      .   ..
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           Sheet 3C- Supervised Release

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                                            SPECIAL CONDITIONS OF SUPERVISION

1. All previously imposed special conditions are reimposed.
